FROM: (828) 254-0021 SHIP DATE: 1OMAR24

ACTWGT: 2.00 LB MAN
FEDEX OFFICE CAD: 0849522/CAFE3755
1? BRYSON ST

ASHEVILLE NC 28803 BILL SENDER
'_ US

Sol " TAQI EL

100 OTIS ST
ROOM 309
ASHEVILLE NC 28801

REF:

~f
£LOt gp ~~.

“F790 dXS ZHOU eep-DeRgEAne

=
HA

IHU:

Vhali ipa iaLunKngy FedEx
|

wah wb bina

J238023051201uv

T7272 2239 4317

Clerk, US District Course
Western District 0628801

9622 0019 0 (000 000 0000) 0 00 7272 2239 4317

ANI

Case 1:21-cv-00305-MR-WCM Document 154-3

